Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 1 CL
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                  IN TH E UNITED STA TES D ISTRICT CO UR T                         D
                 FO R TH E W ESTERN DISTR ICT O F VIRG IN G
                        CH AR I,OTTESW LLE D IW SIO N

 TANNER E/R SCH FELD ;
 NA TALLK AIQR SH ALL,

              Plaintiffs,

 V.                                                CaseNo.g:lf pôlo-
                                                                   s
 TH E BU REA U O F AT,CO H O L,
 TO BAC CO ,FIRE AR M S,AND
 EXPLOSM S;THOG SE.BRANDONJ
 in hisoflkialcapacityastheDeputyand )
 ActingDirectoroftheBureauofAlcohol,)
 Tobacco,Firearms,and Explosives;    )
 JEFFERSON SESSIONS,in hisoflcial )
 capacityasAttorneyGeneralofthe      )
 UnitedStates,                       )
              Defendants.

                             CO M PLM N T
         FO R DECLAR ATO RY JUD GM ENT AND INJUN CTIVE RELV F

        CO M E N O W the Plaintiffs,M .
                                      r.TannerH irschfeld and M s.N ataliaM arshall,by

 andthrough undersigned counsel,and seeka declaratoryjudgmentand injunctiverelief
 and in support,Plaintiffscomplain ofthe Defendantsasfollow s:

                                  INTRO DU CTIO N

              This isan action to vindicate the fundam entalrightto keep and bear arm s,

              w hich isfully applicable to a11law-abiding adultsand includestherightto

               acquire such anns and the necessary am m unition forsuch at-m s.

        2.     TheSecondAmendmenttGguaranteels)theindividualrighttopossessand
              carry''handguns,and Cdelevates above allother interests the right of law -

               abiding,responsible citizensto use arms in def
                                                            'ense ofhearth and hom e.''

              Districtofcolumbiav.Heller,554U.S.570,635(2008).
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 2 of 11 Pageid#: 2




       3.    The United States prohibits a certain class of law -abiding, responsible

            adult citizens from fully exercising the right to keep and bear

            anns- namely,adults w ho have reached the age of eighteen but are not

            yettwentp one yearsold.The federalgovernm entbans such persons from

            purchasing any firearm other than a ritle or shotgun from federally

            licensed firearm s dealers. Therefore, this ban prevents the sale of

            handguns and handgun am munition to such persons.

             A t eighteen years of age, law-abiding citizens in this country are

             considered adults for alm ostallpurposes and certainly forthe purposesof

            the exercise of fundam entalconstittttionalrights.At eighteen,citizens are

             eligible to serve in the m ilitary- to fightand die by arm s forthe country.

             M ale citizens in this age-group are designated m embers of the m ilitia by

             federalstatute,10U.S.C.j31l(a),andmay beconscriptedto beararms
             on behalfoftheircountry,50U.S.C.jj 453(a),454(a).Yet,18 U.S.C.
             922(b)(1)ofthefederalcriminalcodeprohibitslaw-abiding adultsinthis
             age group from law fully purchasing- from the m ostprevalentand readily

             available source- w hat the Suprem e Courthas called idthe quintessential

             self-defensew eapon''and GEthe m ostpopularw eapon chosen by A m ericans

             forself-defense in thehom e.''Heller,554 U .S.at629.

              This blanket ban violates the fundam ental rights of m illions of

             responsible,law -abiding Am erican citizens and is thus invalid under the

             Second and Fifth A m endments.

                                     PA RTIES

       6.    M r.Tarm er Hirschfeld is a residentofA lbem arle County,Virginia and a
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 3 of 11 Pageid#: 3




             citizen oftheU nited States.

       7.    M s.N atalia M arshallis a resident of A lbem arle County,V irginia and a

             citizen ofthe United States.

       8.    TheBureauofAlcohol,Tobacco,Firearms,andExplosives(KKBATFEM),is
             an arm ofthe Departm entofJustice responsible forthe hw estigation and

             prevention of federal offenses involving the use, m anufacm re, and

             possession of Grearm s.The BA TFE also regulates,via licensing,the sale,

             possession,and transportation of firearms and ammunition in interstate

             com m erce. The BA TFE is authorized to im plem ent the federal 1aw

             challenged in thiscase.

             D efendantThom asBrandon isthe Acting D irectoroftheBATFE.

       10.   D efendant Attorney General Jefferson Sessions heads the U nited States

             D epartm ent of Justice, which is the agency of the United States

             govelmm entresponsible for enforcem entoffederalcrim inallaw s.He has

             ultim ate authority forsupervising a1lofthe operationsand functionsofthe

             D epartm entofJustice.

       11.   D efendants BA TFE,Brandon,and Sessions are hereinafter referred to as

             theEtfederalD efendants.''

                          JURISD ICTIO N AN D VENIJE

             Thisaction seeksreliefpursuantto28U.S.C jj2201,2202and28U.S.C.
             j2412.Therefore,jurisdictionisfoundedon28U.S.C.j1331inthatthis
             action arisesunderthe Constitution and law softhe United States.

              The federal defendants, including the Bureau of A lcohol, Tobacco,

             Firearm s,and Explosives,are am enable to suitforreliefotherthan m oney
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 4 of 11 Pageid#: 4




             damagespursuantto5U.S.C.j702.
       14.   The Court has authority to aw ard costs and attorney's fees under 28

             U.S.C.j2412.
       15. Venueisproperinthisdistrictunder2$U.S.C.j1391(e).
                             THE LAW S AT ISSUE
             The Gun ControlActof 1968 statesthatitwaspassed forthe Eçpurpose of

                providlingl support to Federal, State,and local law enforcement
             officials in their fghtagainst crime and violence''and GGnot (for)the
             puposeof...placling)any undueorunnecessary Federalrestrictionjor
             burdens on law -abiding citizens w ith respect to the acquisition,

             possession, or use of firearm s appropriate to the purpose of hunting,

             trapshooting, target shooting, personal protection, or any other law ful

             activity.''Pub.L.No.90-618,j 101,82 Stat.1213,1213-14 (1968).
             Congressdeclared thatthatGun ControlActw asnotm eantCsto discourage

             or elim inate the private ownership or use of freanns by law -abiding

             citizensforlawfulpurposes.''Id.

       17.   The Gun ControlAct does unduly burden,discourage,and elim inate the

             private acquisition and ownership of tsrearm s for law ful purposes by

             certain law-abiding citizens.Title 18,Section 922(b)(1) ofthe United
             States Code provides: (tlt shall be unlaw ful for any licensed im porter,

             licensed m anufacturer, licensed dealer, or licensed collector to sell or

             deliver ...any Grearm or amm unition to any individualwho the licensee

             know s or has reasonable cause to believe is less than eighteen years of

             age,and,ifthe firearm ,oram m unition is other than a shotgun orrifle,or
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 5 of 11 Pageid#: 5




             am m unition for a shotgun or ritle,to any individual who the licensee

             know s or has reasonable cause to believe is less than twentp one years of

             age.''18U.S.C.j922(b)(1).Title18,Section9224c)statesthat((alicensed
             importer,licensed m anufacm rer,orlicensed dealerm ay sella firearm to a

             person who doesnotappear in person atthe licensee's business prem ises

             ...   only if'the person signsa swol'n statem entattesting Esthat,in the case of

             any firearm otherthan a shotgun ora ritle,Iam twenty-one years orm ore

             ofage.''18U.S.C.j922(c).
       18.   Likewise,aDepartmentofJusticeregulation,27 C.F.R.j 478.99(b)(1),
             provides:((A licensed im porter,licensed m anufacm rer,licensed dealer,or

             licensedcollectorshallnotsellordeliver(1)ariytsreal'm orammunition...,
             if the fsrearm , or am m unition, is other than a shotgun or ritle, or

             am m unition for a shotgun or ritle,to any individual who the im porter,

             m anufacm rer, dealer, or collector knows or has reasonable cause to

             believe is less than 21 years of age.'' Other regulations require that

             licenseesobtain a signed copy ofForm 4473 before transferring a handgun

             toapurchaser.See21C.F.R.jj478.124(4,478.9609.Form 4473 states
             thatthe inform ation provided therein çGwillbe used to determ ine whether

             (the transferee is)prohibited underlaw from receiving a firearm''and
             instructs licensees that it is iiunlawful for a licensee to sell any tirearm

             otherthan a shotgun orritle to any person underthe age of21.,'

       19.   Title 18,Section 922(a)(1)(A)requiresanyperson who Ssengagegslin the
             business of importing,m anufacturing,or dealing in firearm s''to obtain a
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 6 of 11 Pageid#: 6




             federalfirearms license (:TFL'').A firearms Efdealer,''in tum,is any
             person who,interalia,Etengagelsqin the businessofselling tsrearmsat
             wholesale orretail,''including pawnbrokers.18 U.S.C.j 921(a)(11)(A),
             (C).A person Giengagelsjin the business''ofselling tirearms and thus
             m ustobtain an FFL- ifhe Etdevotestim e,attention,and laborto dealing in

             firearm s as a regular course of trade or business w ith the principal

             objective of livelihood and protitthrough the repetitive purchase and
             resaleoffirearms.''18U.S.C.j921(a)(21)(C).
       20.   Under18 U.S.C.j922(a)(5),itis illegalçiforany person (otherthan a
             licensed dealerq to transfer,sell,trade,give,transporq or deliver any
             tirearm to any person ...who the transferorknow sorhasreasonable cause

             to believe doesnotreside in ...the State in which thetransferorresides.''

       21.   The com bined effect of these provisions is a signitk ant, unequal, and

             im perm issible burden on the right to keep and bear arm s of a class of

             m illionsoflaw -abiding eighteen-to-twenty year-old adultcitizens.Section

             922(b)(1)flatly bansthe saleofhandgunsand handgun ammunition by
             any person who engages in the regularbusiness ofselling guns to anyone

             eighteen to twenty years of age. These law -abiding adults are thus

             relegated to the irregularsecondary m arketforface-to-face intrastate sales

             ofusedhandguns.And becauseSection 922(a)(5)barsinterstateface-to-
             face sales,these law -abiding adults cannot even access larger used-gun

             m arketsthatthe lnternetand otherm edium sm ightotherwise provide.

       22.   The Second A m endm ent secures the right to purchase handguns and
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 7 of 11 Pageid#: 7




             handgun am m unition for self-defense and otherlaw fulpdrppses and thesc

             protectionsextend in f'
                                   ullto law -abiding adultsaged eighteen orolder.

       23.   The Fifth A m endm entsecures the rightto equalprotection ofthe law s as

             guaranteed undertheD ueProcess Clause.

              TH E IU A CT OF TH E BAN ON TH E PLA INTIFFS
       24.    M r. H irschfeld is a twenty-year-old undergraduate student of the

             U niversity ofV irginia and residentofA lbem arle County,V irginia.H e is

             registered for the United States Selective Service and has never been

             charged orconvicted ofany crim ethatw ould otherwise elim inate hisright

             to purchase orpossessa Grearm .

       25.   0 n October 17,2018,M r.H irschfeld attempted to purchase a RugerLCR

             357 m agnum revolver and am m unition from Tobey'sPawn Shop,an FFL

             located in A lbem arle County,Virginia, but he w as denied the purchase

             due to his age.

       26.   0n O ctober 17,2018,the m anager ofTobey's Pawn Shop stated to M r.

             H irschfeld that if it w ere not for the law s at issue, he w ould sell the

             firearm and am m unition to him .

             M r.Hirschfeld desires to purchase a handgun for the prim ary purpose of

             self-defense but also for other uses,including sportshooting.D ue to the

             practical reality of the com m ercial firearm and am m unition m arket,the

             current law s unduly lim itM r.H irschfeld's access to acquiring a handgun

             and relegate him to an unregulated and lim ited private m arket.He w antsto

             purchase a handgun from an FFL forseveralreasons,to include the larger

             supply ofchoices,the reputation ofthese regulated dealers,and the ability
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 8 of 11 Pageid#: 8




             to purchase a new firearm with a guarantee that ithas not been used or

             tam pered w ith.He has notpurchased a handgun to date because federal

             1aw prohibits an FFL from selling a handgun and amm unition to him on
                                                  .




             accountofhisage.

       28.   Through instruction and personalstudy,M r.H irschfeld isacquainted w ith

             theproperand safe handling,use,and storage oftirearm sand am m unition.

       29.   M r. H irschfeld is unable to purchase a handgun from an FFL solely

             because ofthe federalban on such purchases by adults between the ages

             ofeighteen and twenty.Butforthe federalstattlte banning hispurchase of

             a handgun and handgun amm unition from a federally licensed dealer,he

             w ould purchase a handgun and handgun am m unition from a federally

             licensed dealer,he would be able to law fully carry the Grearm openly,and

             he would beable to storethe firearm athisresidence.

       30.    M s. N atalia M arshall is an eighteen-year o1d resident of Albem arle

             County,V irginia.

       31.   M s.M arshall is well-versed in firearm s training,having been raised and

             participated in afam ily thatroutinely huntsw ith riflesand shotguns.

       32.   M s.M arshallis currently em ployed as an equestrian assistanttrainer and

             frequently works in rem ote,ruralconditionswhere she finds herselfalone

             and interacting w ith unfam iliaradultm ales.

       33.   kt protective order also rennains in-place against M s.M arshall's form er

             boyfriend and orders him to refrain from having contact w ith M s.

             M arshall,visiting herresidence,orbeing in herpresence generally due to
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 9 of 11 Pageid#: 9




             ahistory ofabuse.Sincethatprotectiveorderwasissued,thesubjectof
             the orderw asstopped foratraffic violation by localpolice and found to be

             in the unlawfulpossession of a firearm and controlled substances.H e w as

             subsequently released on bailand failed to appearforcourt,which lead to

             a capiasforhisarrest.

             M s.M arshallw ishesto obtain a handgun and handgun am m unition forthe

             prim ary purpose of self-defense for several reasons and she believes a

             handgun is the m ost suitable tsrearm for this pup ose due to the ease of

             open-carry and ease of training and use if necessary. She also wants a

             handgun because of its size,weight,and portability and cannotuse ritles

             orshotguns in such a m anner.

       35.   M s. M arshall wants to purchase a handgun from an FFL for several

             reasons, to include the larger supply of choices,the reputation of these

             regulated dealers, and the ability to purchase a new firearm with a

             guaranteethatithasnotbeen used ortam pered w ith.

       36.   On October 25, 2018, M s. M arshall attem pted to purchase a Ruger

             Am erican Pistoland am m unition from D ick's Sporting Goods,an FFL in

             Charlottesville,Virginia,butshew asdenied thepurchase due to herage.

             If she w as not barred by the law s at issue, M s. M arshall w ould be

             perm itted to purchase a handgun and handgun am m unition from a

             federally licensed firearm sdealerand would do so.

                      C OU N T I(SECOND AM ENDM ENT)
                            -




       38.   The preceding paragraphs are incorporated herein.

       39.   Title 18,Sections 922(b)(1) and 9224c)ofthe United StatesCode and
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 10 of 11 Pageid#: 10




              Title 27,Sections 478.99(b)(1),478.124/),478.96(b) ofthe Code of
              FederalRegulations ban federally licensed fireal'
                                                              m s dealers from selling

              handguns and handgun am m unition to law-abiding adultsaged eighteen to

              twenty.

        40.   These lawsinfringe upon,and impose an impermissible burden upon the

              Plaintiffs'rightto keep and bear al'
                                                 m s under the Second Am endm entof

              theU nited States Constim tion.

      COUNT 11 (DUE PRO CESS CLAUSE OF THE FIFTH AM ENDM ENT)
        41.   The preceding paragraphs are incorporated herein.

        42.   Title 18,Sections922(b)(1)and 922/)ofthe United StatesCode and
              Title 27,Sections 478.99(b)(1),478.124/),478.964b) of the Code of
              FederalRegulations ban federally licensed firearm s dealers from selling

              handgunsand handgun am m unition to law -abiding adultsaged eighteen to

              twenty years old, but do not ban the sale of the sam e handguns and

              handgun am m unition to law-abiding adultsoverthe age oftwenty.

        43.   These laws violate the Plaintiffs' right to equal protection of the laws

              guaranteed underthe D ue Process Clause of the Fifth A m endm entto the

              United StatesConstim tion.

                              PM Y ER FOR R ELIEF

        WHEREFORE,thePlaintiffsrespectfullyrequestthattheCourtenterjudgmentin
        theirfavorandagainsttheDefendantsasfollows:

        A.Declarethat18U.S.C.5j922(b)(1),(c)and any derivativeregulations,such
           as27C.F.R.jj478.99(b)(1),478.1244$,478.96419,violatetherighttokeep
           and bear arm s as secured by the Second Am endm ent to the United States
Case 3:18-cv-00103-GEC Document 1 Filed 10/26/18 Page 11 of 11 Pageid#: 11




           Constitution'
                       ,

        B.Declarethat18U.S.C.jj922(b)(1),(c)and any derivativeregulations,such
           as27C.F.R.jj478.99(b)(1),478.124(X,478.96(1$,violatetheDueProcess
           Clause of the Fifth A m endm entto the United States Constitution by denying

           equalprotection ofthe lawsto qualised adultsbetween eighteen and twenty

           yearsofage;

        C.Permanently enjoin the Defendants, their officers, agents, servants,
           em ployees,and allpersons in active concertor participation w ith them from

           enforcing 18U.S.C.jj922(b)(1),(c)andanyderivativeregulations,such as
           27 C.F.R.jj478.99(b)(1),478.1244a),478.96(19,and provide such further
           declaratoryreliefasisconsistentwiththeinjunction;
        D . A ward costs and attorneys fees and expensesto the extentperm itted under28

           U.S.C.j2412;and
        E. GrantsuchotherandfurtherreliefastheCourtdeemsjustandproper.
                                                  Respectfully subm itted,

                                                         /s/ElliottM .H arding

                                                  ElliottM .H arding,Esq.
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